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                             EXHIBIT 13
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                                                                          Saper Law Offices, LLC
                                                                          505 N. LaSalle Suite 350
                                                                          Chicago, Illinois 60654
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                                                                          ds@saperlaw.com
                                                                          www.saperlaw.com
April 10, 2018

Nan “Judy” Luo
c/o Yanling Jian at JianIP LLC
233 South Wacker Drive, 84th Floor
Chicago, IL 60606
yanling@jiangip.com

Re: Unauthorized use of PEPPERCORNS and related trademarks

Dear Ms. Luo:

We represent The Boiling Point, Inc. (“TBP”) with respect to its intellectual property and other
legal matters. As a former TBP shareholder, you know that TBP has used the mark
“PEPPERCORNS KITCHEN,” as well as the Chinese mark “巴國演義” in connection with its
Evanston, Illinois restaurant since at least January, 2016.

It has come to our attention that you have recently begun using the identical mark
“PEPPERCORNS KITCHEN” and “巴國演義” in connection with a competing restaurant in
Westmont, Illinois, less than 30 miles from our client’s location. In the short time period since
your restaurant opened, this blatant infringement of our client’s mark has already caused actual
consumer confusion, as evidenced by customer reviews suggesting a mistaken belief that the
restaurant is a “Cass location” of a larger chain (see attached), presumably one affiliated with
TBP’s Evanston restaurant.

Compounding this new infringement is your continuing use of both “PEPPERCORNS
KITCHEN” and “巴國演義”/“baguo yanyi” in connection with a restaurant in Indiana, as well as
your filing of two separate applications to register these marks with the United States Patent and
Trademark Office (Serial Nos. 86973247 and 87796001). We also note that you appear to have
adopted trade dress and design elements similar or identical to our client’s brand (see attached),
further encouraging consumers to mistakenly believe that the restaurants are affiliated.

Finally, you have copied without authorization and used for your own purposes original
materials in which our client owns a valid copyright, including its promotional photographs and
artwork (the “TBP Materials”) (see attached).

We therefore demand that you (1) immediately cease use of the name “PEPPERCORNS” and
any similar word or mark in connection with your Westmont restaurant; (2) immediately cease
use of the name “巴國演義,” “baguo yanyi,” and any similar marks or phrases in connection

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with restaurant services, whether in Illinois or elsewhere; (3) file an express abandonment of
your trademark application, serial no. 87796001; and (4) immediately cease use of all proprietary
TBP Materials. If we do not receive a response affirming your compliance with the foregoing
demands by close of business on April 13, 2018, we intend to proceed with a lawsuit seeking
injunctive relief and damages for trademark infringement, unfair competition, copyright
infringement, and such other causes of action as arise from your conduct.


                                                    Best,

                                                    /s/ Daliah Saper
                                                      Daliah Saper




                                                                   Saper Law Offices - Page 2 of 6
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                   Yelp Review Referencing “Cass location”




                         Comparison of Trade Dress




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                 Comparison of Trademark Design Elements




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                  Examples of Copyright Infringement (1/2)




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                  Examples of Copyright Infringement (2/2)




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